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11   Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
12
                       THE UNITED STATES DISTRICT COURT
13                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
     ROTHSCHILD BROADCAST
15   DISTRIBUTION SYSTEMS, LLC,                 CASE NO. 4:21-cv-02685-HSG
16                 Plaintiff,
     v.                                         NOTICE OF VOLUNTARY
17
                                                DISMISSAL WITHOUT
18   BLUE JEANS NETWORK, INC.,                  PREJUDICE
19                 Defendant.
20

21           Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
22   “RBDS”) files this Notice of Voluntary Dismissal Without Prejudice pursuant to
23   Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an
24   action may be dismissed by the plaintiff without order of court by filing a notice of
25   dismissal at any time before service by the adverse party of an answer. Accordingly,
26   Plaintiff hereby voluntarily dismisses this action against Defendant Blue Jeans
27   Network, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear
28   its own fees and costs.
                                               1
                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Case 4:21-cv-02685-HSG Document 21 Filed 07/29/21 Page 2 of 2




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     Dated: July 29, 2021                    Respectfully submitted,

 2                                           /s/ Stephen M. Lobbin
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                                             Attorney(s) for Plaintiff
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 9                             CERTIFICATE OF SERVICE

10          I hereby certify that on July 29, 2021, I electronically transmitted the foregoing
11   document using the CM/ECF system for filing, which will transmit the document
     electronically to all registered participants as identified on the Notice of Electronic
12   Filing, and paper copies have been served on those indicated as non-registered
13   participants.
                                              /s/ Stephen M. Lobbin
14                                            Stephen M. Lobbin
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
